                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

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UNITED STATES OF AMERICA            )
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            v.                      )                 Criminal No. 19-10081-IT
                                    )
IGOR DVORSKIY,                      )
                                    )
            Defendant               )
____________________________________)

            GOVERNMENT’S SENTENCING MEMORANDUM AND
     MOTION FOR DOWNWARD DEPARTURE PURSUANT TO SECTION 5K1.1

       The government respectfully submits this sentencing memorandum and motion, pursuant

to Section 5K1.1 of the United States Sentencing Guidelines, in connection with the sentencing of

defendant Igor Dvorskiy.

       Dvorskiy played an important role in the standardized test-cheating aspect of the college

admissions scheme led by William “Rick” Singer. As the director of West Hollywood College

Prep (“WHCP”), a small private high school in Los Angeles, Dvorskiy agreed to administer the

SAT and ACT for Singer’s clients at WHCP, and to allow co-conspirators (principally, Mark

Riddell) to purport to “proctor” the exams and then correct the students’ answers. In exchange,

Singer’s sham charity the Key Worldwide Foundation (“KWF”) paid approximately $200,000 to

a WHCP account controlled by Dvorskiy, and from which Dvorskiy was paid his salary.

       Dvorskiy did not passively look the other way while cheating occurred at his school.

Rather, he employed deception to further the scheme in several ways, including by (i) arranging

for the testing locations for Singer’s clients to be changed to WHCP specifically so the cheating

could take place, (ii) falsely attesting that he would abide by the testing rules and policies of the

testing agencies, (iii) working with Riddell and another proctor to facilitate the cheating (by, for
example, allowing Riddell to review and take pictures of the tests in advance), and (iv) concealing

the cheating and mailing the testing materials to the testing agencies for scoring.

       As explained below, the government submits that his conduct places Dvorskiy in the

middle, in terms of culpability, of defendants who facilitated the test-cheating aspect of Singer’s

scheme.   But unlike some test-cheating defendants who have been sentenced to probation,

including both a facilitator and parents, Dvorskiy provided substantial assistance in the

government’s investigation and prosecution of other co-conspirators. Accordingly, and for the

reasons further detailed below, the government recommends that Dvorskiy be sentenced to 1 year

of supervised release, to include 3 months of home detention, and an agreed-upon forfeiture money

judgment of $149,540, which represents the salary he was paid by WHCP during the pendency of

his involvement in the scheme, and a $100 special assessment.

I.     Overview of the Offense Conduct

       In late 2016, Dvorskiy met Singer, who was a college counselor for a WHCP student. PSR

¶ 44. At Singer’s request, Dvorskiy changed the year of a class on the student’s WHCP transcript

in order to improve his college prospects. Id. Thereafter, Singer asked Dvorskiy to register WHCP

as an SAT and ACT testing site, and to administer the standardized tests to Singer’s students. Id.

In exchange, Singer proposed that his sham charity KWF would make payments to WHCP. Id.

       Dvorskiy agreed to Singer’s proposal. In March 2017, WHCP received Singer’s first

payment, $25,000, for registering as an SAT testing site and administering the SAT to the son of

defendant Marci Palatella. Id. ¶¶ 46-53. At the time, Dvorskiy did not have full insight into the

scheme, such as understanding that proctor Mark Riddell had cheated for Singer’s clients for years.

Id. ¶ 52. But even at the initial stage of his involvement in the scheme, Dvorskiy facilitated and

concealed the cheating, by, among other means, falsely certifying to the College Board that



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Palatella’s son took the exam over two days in accordance with his testing accommodations and

concealing Riddell’s role as the proctor from the testing agency. Id. ¶ 53.

       Thereafter, Dvorskiy’s knowledge of and involvement in the cheating grew, and he agreed

to accept a $10,000 payment to WHCP for each test he administered fraudulently. See id. ¶¶ 54-

113. Dvorskiy deceived the testing agencies and breached the fiduciary duties he owed them in

multiple ways. For example, Dvorskiy made arrangements with Riddell to allow Riddell to arrive

early at WHCP on several occasions so that Riddell could review the exams in advance and take

pictures, simplifying his correction of students’ answers after the exam. Id. ¶¶ 42, 67, 75, 80, 86.

Further, Dvorskiy and Riddell discussed how Dvorskiy needed to conceal the cheating by

certifying to the testing agencies that certain sections of the exams were administered on separate

days (to maintain the façade pursuant to which the test had been moved to WHCP in the first

place), even though all of Singer’s students took the exam on one day. Id. ¶ 81. And Dvorskiy

breached the fiduciary duties he owed ACT Inc. and the College Board (id. ¶ 35) by, among other

things, falsely certifying that he administered the exams in accordance with their testing manuals

(which prohibited and sought to prevent cheating in a number of ways, id. ¶¶ 45, 66), and hiding

Riddell’s role as the proctor. Id. ¶ 102.

       For example, in March 2018, Dvorskiy agreed with Singer to allow Riddell to cheat on the

SAT for two students—the son of defendants Amy and Gregory Colburn and the daughter of

defendant Agustin Huneeus—in exchange for a $20,000 payment from KWF to WHCP. Id. ¶¶ 77-

83. After Singer sent Dvorskiy the SAT admission tickets for the two students, Dvorskiy faxed

letters to the College Board falsely stating that he would administer the exams in accordance with

the students’ multi-day testing accommodations, which was necessary to move the testing location

to WHCP (where Dvorskiy would allow Riddell to secretly correct the students’ answers). Id.



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¶ 78. On March 9, 2018, Riddell flew from Florida to Los Angeles, and the following morning,

he and Dvorskiy exchanged text messages to confirm that Riddell would arrive early at WHCP to

review the exams. Id. ¶¶ 79-80. After the students completed the exams, which they took on a

single day and which Riddell proctored, Riddell changed both students’ answers to achieve inflated

scores. Id. ¶ 80. Two days later, Riddell and Dvorskiy exchanged text messages to confirm that

Dvorskiy had falsely reported to the College Board that the students had completed the first three

sections of the SAT on the first day and the second two sections on the second day. Id. ¶ 81.

Dvorskiy did so when returning the testing materials to the College Board, and he also concealed

from the testing agency that Riddell had proctored (and cheated on) the exams. Id. ¶ 82. Four

days after the test, KWF issued a $20,000 check payable to WHCP, c/o Igor Dvorskiy, which

Dvorskiy deposited in WHCP’s bank account. Id. ¶ 83.

       In total, Dvorskiy facilitated cheating on approximately 20 exams for Singer’s students at

WHCP. Id. ¶ 42. In return, KWF paid WHCP $198,000, and Singer also paid $7,000 to a

psychologist who evaluated Dvorskiy’s own children for potential learning disabilities. That latter

payment was a direct personal benefit to Dvorskiy. Together, the payments from KWF to WHCP

and to the psychologist for Dvorskiy’s personal benefit totaled approximately $205,000. Id. The

money paid by KWF to WHCP was deposited into the school’s general account, and from that

account, the school paid its expenses, including Dvorskiy’s salary. 1




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        In response to Dvorskiy’s Objection No. 2 to the initial PSR, the final PSR states that “the
Probation Office understands that the defendant personally received the money from [the]
payments” to WHCP. See PSR, Resp. to Def. Obj. No. 2. This is not the government’s
understanding. Rather, as outlined in Dvorskiy’s objection, the checks from KWF to WHCP were
deposited into WHCP’s bank account, from which Dvorskiy drew his salary and from which other
expenses were paid.
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II.    The Applicable Sentencing Guidelines

       The parties have stipulated in the plea agreement that Dvorskiy’s total offense level under

the Sentencing Guidelines is 17. The resulting Guidelines sentencing range is between 24 and 30

months. Probation has taken the position, which the government acknowledges the Court has

adopted in related cases, that there was no gain or loss to the testing agencies, and thus Dvorskiy’s

total offense level is 16 (based on a default base offense level of 19 for racketeering conspiracy),

which results in a Guidelines sentencing range of 21 to 27 months.

III.   Sentencing Recommendation and Motion Pursuant to Section 5K1.1

       Regardless of whether the Court adopts the Guidelines range stipulated to by the parties or

set forth in the PSR, the government submits that a downward departure, pursuant to Section 5K1.1

of the Guidelines, is appropriate to reflect Dvorskiy’s substantial assistance in the government’s

investigation, and a further downward variance is appropriate to avoid unwarranted sentencing

disparities and account for other § 3553(a) factors, as set forth below.

       Dvorskiy provided substantial assistance in the government’s investigation and

prosecution of several parents involved in the test-cheating aspect of Singer’s scheme. Unlike

several other cooperating defendants (e.g., Mark Riddell, Laura Janke, Steven Masera), Dvorskiy

did not agree to cooperate promptly after his arrest in March 2019. He first proffered with the

government approximately six months later, in September 2019. At that time, he provided detailed

information (as well as corroborating text messages) about the general operation of the test-

cheating scheme at WHCP and his role therein, as well as specific instances of cheating and the

parents involved. Further, Dvorskiy provided important evidence in that he acknowledged owing

the College Board and ACT Inc. fiduciary duties, and that he breached those duties by, among

other things, lying to the testing agencies and accepting money to facilitate the cheating. Dvorskiy



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proffered again in 2019, and he then made himself available to prepare for trial testimony, which

was obviated by the guilty plea of Palatella shortly before her September 2021 trial and the guilty

pleas of the Colburns and defendant I-Hsin “Joey” Chen shortly before their January 2022 trial.

Dvorskiy’s cooperation was less immediate, extensive, and valuable than that of defendants like

Riddell (who cooperated against Dvorskiy) and other defendants whom the Court has recently

sentenced (e.g., Laura Janke, who immediately accepted responsibility for her actions, provided

extensive information about numerous parent and coach defendants, and ultimately testified at two

trials). But Dvorskiy’s cooperation was more valuable than that of a defendant like Martin Fox,

who (in addition to being significantly more culpable than Dvorskiy, as explained below) proffered

only once, provided valuable information about only one defendant (Williams), and began to

cooperate at about the same time as Dvorskiy.

       The government respectfully submits that Dvorskiy’s crime calls for a meaningful

sentence, one that should impose punitive effects not in the form of incarceration, but home

detention. Dvorskiy played an important role in the success of the test-cheating aspect of Singer’s

scheme and facilitated cheating on approximately 20 exams over multiple years. While Dvorskiy

did not himself change the students’ answers or personally pocket the payments from KWF, he

did far more than simply look the other way while his school became the hub for one of the most

extensive and elaborate standardized test-cheating schemes in U.S. history. Rather, he employed

deception in numerous ways, and his active participation in the scheme grew as he became more

familiar with Singer’s operation and Riddell’s preferences.

       The sentences imposed on related defendants involved in the test-cheating aspect of the

scheme have informed the government’s recommendation. The sentences range from probation

(e.g., Houston testing-site administrator Williams, and parent Peter Jan Sartorio) to 7 months



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incarceration (parent Elizabeth Henriquez, who engaged in cheating on 5 separate exams and also

participated in the side door aspect of the scheme), with the average sentence being approximately

2.5 months. 2

       And more specifically, the facilitators who have been sentenced for their roles in the test-

cheating aspect of the scheme thus far, and their culpability relative to Dvorskiy, are informative.

           •    Riddell. Riddell is significantly more culpable than Dvorskiy. He participated in
                the scheme for nearly a decade, cheating on 27 exams for Singer’s clients in
                exchange for nearly $250,000 in bribe payments to his pocket. He cheated on the
                exams in numerous ways (ranging from changing students’ answers at WHCP and
                other Singer-controlled testing sites, to using a fake ID and posing as a student to
                take an exam). Riddell also advised others (like Dvorskiy) on how to avoid
                detection of the cheating. Nevertheless, as noted above, Riddell’s cooperation was
                more extensive than Dvorskiy’s. Riddell was sentenced to 4 months in prison.

           •    Fox. Fox is significantly more culpable than Dvorskiy. Fox facilitated both the
                test-cheating and side-door aspects of the scheme by serving as a middleman
                between Singer and Williams and between Singer and college coaches. Fox
                profited approximately $245,000 from the scheme, and unlike Dvorskiy, Fox was
                also facilitating bribe payments totaling thousands of dollars more, as well as
                recruiting others to join the scheme (like Williams). The sentence imposed by this
                Court, 3 months of incarceration followed by 3 months of home detention, reflects
                credit for his cooperation against Williams and also accounted for Fox’s significant
                health concerns requiring incarceration at a federal medical center.

           •    Williams. Dvorskiy is more culpable than Williams, who was a public-school
                employee who was a low-level player in the scheme and received significantly less
                money than WHCP did for her role in allowing Riddell to purport to proctor
                approximately five exams at the Houston test center while helping students cheat.
                Nevertheless, the government notes that Williams had more insight into the details
                of the scheme at the beginning of her involvement (having been recruited by Fox)
                than Dvorskiy did, and in one instance, she even delivered an exam to Riddell’s
                hotel room for him to take instead of the student. Unlike Dvorskiy, Williams did
                not cooperate in the government’s investigation. The Court sentenced Williams to
                12 months of probation. While Dvorskiy is more culpable than Williams (though
                perhaps not as much as the difference between 20 exams and 5 exams may suggest),



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         That average sentence drops to about one month of imprisonment when the pool is
narrowed to those who participated in only the test-cheating aspect of the scheme and sentences
imposed on parents who participated in both the test-cheating and athletic recruitment aspects of
the scheme are removed.
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               it is difficult to justify a sentence of incarceration for him in light of Williams’
               probationary sentence without any home confinement.

       The government’s recommendation of 3 months home confinement here balances these

competing factors by taking into account the seriousness of Dvorskiy’s crimes and the sentences

imposed on other defendants, while also crediting him for his cooperation. The government’s

recommendation also accounts for the collateral consequences that a term of incarceration would

impose on Dvorskiy’s elderly parents, for whom he is the sole caregiver. PSR ¶¶ 150-51.

IV.    Conclusion
       For the foregoing reasons, the government respectfully requests that the Court sentence the

defendant to 1 year of supervised release, to include 3 months of home detention, a forfeiture

money judgment of $149,540, and a $100 special assessment.

                                                     Respectfully submitted,

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Date: August 2, 2022


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                                              By:    /s/ Ian J. Stearns
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